            Case 3:21-cv-00225-BJB Document 1 Filed 04/09/21 Page 1 of 7 PageID #: 1


                                                                          FORM A
                          CIVIL RIGHTS COMPLAINT TO BE USED BY A PRO SE PRISONER
                                           UNDER 42 U.S.C. § 1983 or
     Rev . 10/ 10            UNDER BIVENS V. SIX UNKNOWN FED. NARCOTICS AGENTS

                                                                                      FILED
                                    UNITED STATES DISTRICT COURT                 JAMES J. VILT, JR. - CLERK
                                    WESTERN DISTRICT OF KENTUCKY
                                                                                          APR - 9 2021

     Mr.RONNY DEVIOD WALKER SR., No.21-5021:                                      U.S. DISTRICT COURT
                                                                                 WESTN. OISt KENllJCKY
     Petitioner-Appellant,#237044

     Luther Luckett Correctional Complex:
     (Full name of the Plaintiff(s) in this action)

     V.                                                    CIVIL ACTION NO. -
                                                                                  2 ·21
                                                                                ;:J -
                                                                                          cv, 225, OJH
                                                                                    ' -----
                                                           (To be supplied by the clerk)
Case: 3:17-cv-00541-DJH-CHL,DacJJment 76;

     AMY ROBEY,Interim Warden;et al.,

     COMMONWEALTH OF KENTTTCKY,APPEAJ.:                    ~    DEMAND FOR JURY TRIAL

     Magistrate,Colin H. Lindsay                           (_)NO JURY TRIAL DEMAND
                                                                 (Check only one)
     And: David J. BALE.DistrJct Court:
     (Full name of the Defendant(s) in this action)

      I.        PARTIES

             (A) Plaintiff(s). Place the full name of the Plaintiff in the first blank below, his/her
      place of confinement, address, and status. Repeat this procedure for each additional Plaintiff
      named, if any.

                (1) Name of Plaintiff:       Mr. RONNY DEVIOD WALKER SR.,RON D~M'C. WALKER.

                Place of Confinement: Luther Luckett Carree t ional Complex. ,

                Address: Dorm 7D/B 243 L:1612 Dawkins Raad,                  ,p.o. Box 6,T,aGra • g~,KY.
                                                                                              40031-0006.
                Status of Plaintiff: CONVICTED    lJD    PRETRIAL DETAINEE L_)

                (2) Name of Plaintiff: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                    Place of Confinement:
                                            ----------------------
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       Addre~:     (LLCC): 1612 Dawkins Road; P.O.Box 6,LaGrange,KY.40031-0006.

       Status of Plaintiff: CONVICTED UL) PRETRJAL DETAINEE L_)

       (3) Name of Plaintiff: RON DMC. , RONNY DEVI OD WALKER SR . ,

                                         (SAME):
        Place of Confinement:
                                -----------------------
                                                     (SA.ME):
        Address:
                  ---------------------------
        Status of Plaintiff: CONVICTED c_) PRETRJAL DETAINEE(__)

         (B) Defendant(s). Place the full name of the Defendant in the first blank below, his/her
official position title in the second blank, and his/her place of employment in the third blank.
Mark the capacity in which the Defendant is being sued. Repeat this procedure for each
additional Defendant named, if any.

        (l) Defendant     AMY ROBEY,       Interoim Warden. ,et al .. ,             is employed

as
        ----------- ~
      WARDEN Habeas action
     --                                      Luther Luckett Corr Complex

The Defendant is being sued in his/her (__) individual and/or u__) official capacity.

        (2) Defendant _ _C_o_l_i_n_H_._L_i_n_d_s_a_._y_ _ _ _ _ _ _ _ _ _ _ is employed

as    Magistrate ,Judge                  atUnited States District Court,We~tern

The Defendant is being sued in his/her(__) individual and/or UL) official capacity.

        (3) Defendant David J. Ha le                                                is employed

as _ _ _ _ _ _
             J=u=d_g~e_ _ _ _ _ atUnited States District Court,We~tern

The Defendant is being sued in his/her(__) individual and/or (__x__) official capacity.

        (4) Defendant _ _ _ _ _ _ _N/A
                                   _ _ _ _ _ _ _ _ _ _ _ _ _ _ is employed

as - - - - - - - - - - - - - ~ - - - - - - - - - - - - - - - - -

The Defendant is being sued in his/her(__) individual and/or(__) official capacity.




                                                 2
       Case 3:21-cv-00225-BJB Document 1 Filed 04/09/21 Page 3 of 7 PageID #: 3




         (5) Defendant _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is employed

as
      - - - - - - - - - - - - - at - - - - - - - - - - - - - - - - -
The Defendant is being sued in his/her (__J individual and/or (__J official capacity.

II.      PREVIOUS LAWSUITS

       (A) Have you begun other lawsuits in State or Federal court dealing with the same facts
involved in this action? YES (_KJ NOL_)

       (B) If your answer to "A" is YES, describe the lawsuit in the spaces below. If there is
more than one lawsuit, you must describe the additional lawsuits on another sheet of paper, using
the same outline.

         Parties to the previous lawsuit:

                 Plaintiff(s):    Mr· RONNY D. WALKER Sr.

                                  Puo-se;237044

                 Defendant(s): Detective:Tony Finch#2708 Per~ury

                                  Walker v.Commonwealth 349 S.W.3d 307,2011 ky
                                   2010-SC-000409=MR:SUPREME COURT OF KENTUCKY,,
         Court (if federal court, name the district. If state court, name the county):

          SUPREME COURT OF KENTUCKY 349 S.W.3d 307;2011ky.LEXIS 135

         Docket number: --~2~0'"1~0~-~s...,c~-0.....0. . . .0,_,__4,..,,.Q...,.9-=-_,_,M=R'-------------

         Name of judge to whom the case was assigned:             JUSTICE ABRAMSON

         Type of case (for example, habeas corpus or civil rights action): Ci vi 1- rights Class A:

         Disposition (for example, Was the case dismissed? Is it still pending? Is it on appeal?):
         On going appeal?The ~QyFt affirmed the judgment.Denial:

         Approximate date of filing lawsuit: September 22, 2011:

         Approximate date of disposition: Case 3: 17-cv-00541-DJH CHI,; 04/01/21 ..




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 III.    STATEMENT OF CLAIM(S)

         State here the FACTS of your case. State how you believe your constitutional rights were
 violated. Describe how each Defendant violated your rights. And set forth the dates on which
 each event took place. Do not make legal arguments or cite cases or statutes. However, identify
 the constitutional right(s) you allege was/were violated. If you intend to assert multiple claims,
 number and set forth each claim in separate paragraphs. ( Ba t s O n I s sue ! ! ) :
 ~omes now, Petitioner,Ronny D. Walker, pro-se Kentucky prisoner

 pursuant to CR 60 (b)(6) And Rule of Civil procedure (6)(b)(1)(B)

 and respectfully move to undo the court's order and allow Petitioner

 to file a notice of appeal for the court's order denying Petitioner's

 habeas petition.As grounds thereof,Petitioner states as follows:

 Findings of fact and conclusions of law and recommendation by:Magistrate

 Judge Colin H. Lindsay on 7/1/2019re 6Petition for Writ of Habeas Corpus .

 Objections to Findings of Fact due by: 7/16/2019.For these reasons,the

 undersigned RECOMMENDS that Walker's habas petition(DN6)be DENIED WITH

 PREJUDICE and that a Certificate of Appealability be DENIED. This matter

 DISMISSED and STRICKEN from the Court's active docket. NO certificate of

 appealability shall issue with respect to any issue or claim raised in

 this proceeding.(KD)(Entered:11/13/2019): On                         12/06/2019. I filed Notice

 appeal: On 12/30/2019.MOTION to Alter Judgment by Petitioner Ronny

Deviod Walker.On July 2,2019:(DN 40): Objected to Judge Lindsay's re-

commendations.The Court deny Walker's petition and that no certificate of

appealabily issue. Motion to correct judgment (D.N.18): On 03/05/2018.

The same thing before? This matter is referred to Magisrate JudgeColin

H. Lindsay pursuant to 28 U.S.C.* 636(b)(1)(A)&(B) for rulings on all non-


                                                  4
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 III. STATEMENT OF CLAIM(S) continued

dispositive motions; for appropriate hearings,if necessary; and for

findings of fact,conclusions,and recommendations on any dispositive

matter.cc:Petitioner,Resp. ,Atty. General,USMJ-CHL-CM.(ARM)(Entered:

03/05/2018):But the Atty.General;didn't Answer what was due what was

40 days . So now what is the matter on any dipositive prose, filed a

motion for evidentiary hearing and a motion for appointmenent of counsel

04/14,2018.MOTION FOR EXTENSION OF TIME TO FILE ANSWER,thirty (30) daysJ

to and including May 14,2018,to file his anawer in opposition to the pet-

ition and to produce the relevant portions of the state court proceedings

in this matter. In support of this motion,the warden states as follows:

The petition sets forth seven (7) -claims for habeas relief (Id.). On

March 5,2018, Judge Hale ordered the petition sered on the Attorney

General of the Commonwealth of Kentucky, ordered respondent to answer the

petition within forty (40) days and referred thr case to Magistrate

Judge Lindsay(R3).(Conclusion):Petitioenr's Direct appeal Claims!

Jeaously testimony of his own life DRAMA!"Misconduct dealing with the

handling of peoples cases which can be shown with Peoples' proper

Investigation.(2582#Homicide Det.R.Stalvey):Case officer a &ency #0403407!

Interview by Detective Finch.Include any Notice of Appeal which they

haven't received.,On Jan11ary 23,2020,from the lagal mail-Room on the

Deposit log out sheet docket show i mail-out?To:James J.Vilt;chief Deputy
Clerk .. On July 2nd,mistakes fraud mail i haven't received it shows ..

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IV. . RELIEF

        State exactly what you want the Court to do for you. (If you seek relief which affects the
fact or duration of your imprisonment (for example: release from illegal detention, restoration of
good time, expungement of records, release on parole), you must also file your claim under 28
U .S.C. §§ 2241, 2254 or 2255.) The Plaintiff(s) want(s) the Court to:

       ~ award money damages in the amount of$ __1_5_0_0_
                                                       · _·O_O_O_._O_O_O_._o_O_M_I_L_L_I_O_N_

       _X
        __ grantinjunctivereliefby          A Motion for evidentiary hearing?

       _O_ award punitive damages in the amount of $_ _ _--'CF--"IC..CF_T.;....E_E_N_M_I_L_L_I_O_N
                                                                                                 __

        R/W ~hcr: GoFunDme.com(HardTimes#ReFormsPrisonAct's.com):

V.     DECLARATION UNDER PENALTY OF PERJURY
       (each Plaintiff must sign for him/herself)

      I, the undersigned, declare under penalty of perjury that the information contained in this
docwnent is true and correct.

This]_ day of_Ap..__ri_·l_ _ _ _ _ _, 2021.


                                                     (Signature of Plaintiff)




                                                     (Signature of additional Plaintiff)




                                                     (Signature of additional Plaintiff)


I hereby certify that a copy of this complaint was delivered to the prisoner mail system for
mailing on      04/07/2021.




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                                                    Case 3:21-cv-00225-BJB Document 1 Filed 04/09/21 Page 7 of 7 PageID #: 7
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                         Mr.RONNY DEVIOD WALKER SR. ,
                         Luther Luckett Correctional Complex
                         Dorm 7D/BL/243 : (237044):
                       . 1612 Dawkins Road;P.O. Box 6.
                         LaGrange,R~ntucky.40031-0006 .




                                                                                          UNITED STATES DISTRICT COURT


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                                                                                            OFFICE OF THE CLERK
                                                                                          Room 126 Federal Building
                                                                                            423 Frederica Street
                                                                                          Owensboro,KY.42301-3013.




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